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                     EXHIBIT A
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                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF FLORIDA
                      PENSACOLA DIVISION

Coin Center et al.,
                Plaintiffs,
      v.                                 Case No. 3:22-cv-20375-TKW-ZCB
Janet Yellen, in her official capacity
as Secretary of the Treasury, et al.,
                Defendants.


   BRIEF OF BLOCKCHAIN ASSOCIATION AND DEFI EDUCATION
   FUND AS AMICI CURIAE IN SUPPORT OF PLAINTIFFS’ MOTION
                  FOR SUMMARY JUDGMENT
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                         INTEREST OF AMICI CURIAE

       Amici curiae, the Blockchain Association (the “Association”) and DeFi Education

Fund (“DEF”), are leading nonprofit organizations dedicated to improving the policy

environment for the digital asset economy and ensuring blockchain technology

innovation can thrive. Amici work to educate policymakers, regulators, courts, and the

public about the nature and benefits of blockchain technology and decentralized

finance. The Association does so as a representative of more than 100 member

companies that reflect the diversity of the dynamic blockchain industry, while DEF

represents the interests of users, participants, and software developers in the sphere of

decentralized finance.

       The decision of the Office of Foreign Assets Control (“OFAC”) to sanction

Tornado Cash—privacy-protecting software used on the Ethereum blockchain—raises

serious regulatory and constitutional questions that have wide-ranging effects on the

blockchain ecosystem and the digital asset economy. Amici submit this brief to assist

the court in understanding blockchain technology and the serious problems with the

sanctions at issue.

            INTRODUCTION AND SUMMARY OF ARGUMENT

       OFAC’s decision to sanction Tornado Cash—an open-source software protocol

with no owner or operator—reflects a basic misunderstanding of what Tornado Cash

is and how it works. Until OFAC imposed sanctions, Tornado Cash was the most

popular privacy-protecting tool on Ethereum, the world’s second-largest digital asset

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platform.1 And it is just that—a tool. Far from the centralized organization that OFAC

alleges, Tornado Cash is merely self-executing computer software published on the

Ethereum blockchain. This software has no owner or operator, and it functions

automatically without any human intervention or assistance. Like any tool—indeed,

like the internet itself—software like Tornado Cash can be misused for illicit purposes.

But it is used primarily for legitimate and socially valuable reasons. See Am. Compl.

¶ 81.

        OFAC’s attempt to sanction the Tornado Cash computer code is both

unprecedented and unlawful. The Administrative Procedure Act forbids agency action

undertaken “not in accordance with law,” 5 U.S.C. § 706(2)(A), and OFAC’s sanctions

both exceed its statutory authority and are the product of arbitrary-and-capricious

decision-making, see id. § 706(2)(A), (C). This Court should grant summary judgment

to the Plaintiffs.

                                    ARGUMENT

I.      TORNADO CASH IS AN IMPORTANT TOOL FOR PROTECTING THE PRIVACY
        OF DIGITAL ASSET USERS.

        Americans are using digital assets more than ever. A recent study found that 20

percent of American adults own digital assets, and 29 percent plan to buy or trade digital


        1
         See George Kaloudis & Edward Oosterbaan, How Popular Are Crypto Mixers?
Here’s What the Data Tells Us, CoinDesk (Nov. 7, 2022), https://bit.ly/3Xb0iok; Today’s
Cryptocurrency Prices by Market Cap, CoinMarketCap, https://bit.ly/3IFcoSs (last visited
June 1, 2023).


                                            2
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assets in the next year.2 And it is not hard to see why: digital asset networks utilize

blockchain technology, which provides a decentralized, internet-based alternative to

traditional finance, thus freeing users from a multitude of third-party middlemen, like

banks and payment processors, or even from a particular country’s currency.3 This

freedom is not only more efficient and less expensive than traditional systems, but it

also allows users to regain the power and ownership taken away from them by

intermediaries.4 In doing so, it creates a valuable alternative for the millions of

Americans who are “unbanked” or “underbanked” because of the world’s historically

discriminatory and increasingly powerful traditional financial institutions.5

       Two additional points are critical here. First, as detailed below, people conduct

digital asset transactions through a “blockchain,” which is an interconnected network

of computers that automatically records every single transaction on a public ledger,

viewable by anyone on the internet, in contrast to the private ledgers used by traditional



       2
        Cryptocurrency Perception     Study,       Morning   Consult    (Feb.   24,    2023),
https://bit.ly/3FUayeO.
       3
          See generally What Is Cryptocurrency?, Coinbase, https://bit.ly/3lSamp7 (last
visited June 1, 2023).
       4
        See, e.g., Jerry Brito, Report: The Case for Electronic Cash, Coin Center (Feb. 2019),
https://bit.ly/3Z2ybcj; Aaron Terr, PayPal Is No Pal to Free Expression, Found. for
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       5
        Miller Whitehouse-Levine & Lindsey Kelleher, Self-Hosted Wallets and the Future
of Free Societies: A Guide for Policymakers, Blockchain Ass’n (Nov. 2020),
https://bit.ly/3XQDqut.


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banks. This new system creates a particular need for privacy protections to avoid

sharing all of one’s financial dealings with everyone else. Second, before OFAC’s

sanctions interfered, Tornado Cash served as the go-to tool for law-abiding users of

Ethereum to fill this critical need.

       A.     Financial Privacy Is Essential In The Digital Asset Sphere.

       A blockchain functions like a bank’s ledger: it records and tracks every

transaction on a given platform. See, e.g., Pls.’ Mem. in Supp. of Mot. for Summ. J. at 2

(“Pls.’ MSJ Mem.”). But unlike a bank’s ledger—which is private, modifiable, and

subject to the bank’s control—blockchains like Ethereum are public, permanent, and

maintained through a decentralized network of independent computers. When a

transaction occurs, this network validates it and then adds it to the “chain,” where every

transaction that has ever occurred in the history of that blockchain is publicly viewable

and cannot ever be changed or removed. See id.

       One consequence of this technology is that every user’s interactions on the

blockchain network—including any financial transactions—are public to all other users.

Although the “chain” does not list anyone’s name, it executes transactions via “[p]ublic

keys” (as opposed to password-like “[p]rivate keys”) that are generally under the control

of specific persons.6 Like an email account used to send, receive, or store messages—



       6
         Benedict George, A Crypto Must-Know: Public v. Private Keys, CoinDesk (May 11,
2023), https://bit.ly/43wFfjD.


                                            4
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or a physical address in the analog world—the public key is the address that people use

to send, receive, or store digital assets.7 But unlike these comparators, the blockchain

is fully public, so all users can see the core components of every transaction that has

ever occurred—the sender’s public key, the receiver’s public key, and the amount, type

of asset, and time transmitted. And because users use the same public key to engage in

many—if not all—of their transactions, any time a user engages in a deanonymized

transaction—such as an employee paid partially through digital assets8—the user is

deanonymizing his entire past and future transaction history to his counterparty, not to

mention anyone else who may know the identity behind the user’s public key.

Moreover, users can sometimes be involuntarily deanonymized, as complete strangers

might be able to deduce their real-world identities based on their transaction patterns

or other public information.9

      To avoid broadcasting their finances to the world, many digital asset holders have

turned to privacy-protecting tools like Tornado Cash. Such tools allow users to reclaim

privacy that would be available as a matter of course in other contexts, while retaining




      7
          Id.
      8
       Cloey Callahan, Here’s How Some Employees Are Being Paid in Cryptocurrencies,
WorkLife (Sept. 2, 2022), https://bit.ly/4040SXg.
      9
        Adam Ludwin, How Anonymous Is Bitcoin?, Coin Center (Jan. 22, 2015),
https://bit.ly/3Slll6Y. For this reason, blockchain is sometimes referred to as not
anonymous but pseudonymous.


                                           5
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the benefits that come with using blockchain technology. It would, for example, be

unthinkable if every store could view every purchase that its customers ever made based

on a single payment, or if random bystanders could view the transactions on every

consumer’s credit-card statements. There are innumerable understandable reasons why

law-abiding people would not want their friends and neighbors to know the full details

of every purchase they make, every cause they financially support, and indeed every

transaction of any sort they undertake. There is nothing odd or nefarious about wanting

to keep basic personal details private.

       In addition to protecting privacy in general, tools like Tornado Cash allow users

to protect themselves from bad actors. Particularly when a user’s transaction history

indicates wealth, the user risks being targeted by hackers, thieves, and other

wrongdoers.10 And when the blockchain contains enough information for a user’s

identity to be unmasked, these attacks can spill into the physical world, where digital

asset users have been the victims of crimes ranging “from simple robberies to home

invasions, kidnappings, torture, and even murder.”11

       Moreover, the need for privacy is heightened for certain, particularly sensitive



       10
          Andrew R. Chow, A New U.S. Crackdown Has Crypto Users Worried About Their
Privacy, TIME (Aug. 10, 2022), https://bit.ly/3kcSwNo.
       11
         Rob Price, Kidnapped for Crypto: Criminals See Flashy Crypto Owners as Easy Targets,
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https://bit.ly/3xAtavI.


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transactions. Digital asset users often prioritize anonymity when supporting politically

charged causes, for fear of reprisal or government sanction.12 For example, one of the

plaintiffs in this case has stopped facilitating digital asset donations to support Ukrainian

relief efforts, for fear that he and other likeminded donors will be targeted by Russian

agents and state-sponsored hackers. Am. Compl. ¶ 49. Likewise, privacy can be

paramount when users engage in deeply personal transactions, such as a patient paying

for medical procedures or a survivor of sexual assault crowdfunding expenses for her

recovery.13 Without privacy, users may feel forced to forgo transactions like these. E.g.,

id. ¶¶ 46–49.

       B.       Tornado Cash Is An Autonomous Technological Tool to Preserve
                Financial Privacy.

       Before OFAC’s sanctions, Tornado Cash enabled Americans to protect their

privacy while using Ethereum. And many availed themselves of it: as the most popular

privacy tool on Ethereum, Tornado Cash has attracted more than 12,000 unique users,

who have executed more than $8 billion in transactions.14 The vast majority of such


       12
          Zachary Halaschak, Canadian Crackdown on Truckers Highlights Privacy Benefits of
Cryptocurrency, Wash. Examiner (Feb. 24, 2022), https://bit.ly/42tU1rw.
       13
          Brooke Becher, U.S. Sanctions on Tornado Cash: What Does This Mean for Crypto?,
Built In (Nov. 1, 2022), https://bit.ly/3KmqDNB; Leigh Cuen, Sexual Assault Survivor
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https://bit.ly/3IhWmfV.
       14
         Tornado Cash Analysis, Dune, https://bit.ly/3kjYg7T (last visited June 1, 2023);
cf. Tornado Cash Alternatives, Elliptic (Oct. 11, 2022), https://bit.ly/3U2FuzD
(comparing Tornado Cash with its much-smaller competitors).


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privacy-protecting transactions—more than 75 percent of transacted funds, according

to OFAC’s analysis of Tornado Cash and similar tools—has been licit. See Pls.’ Mot.

for Partial Summ. J. at 23, Van Loon v. Dep’t of Treasury, No. 1:23-cv-00312 (W.D. Tex.

Apr. 5, 2023), ECF No. 41 (citing A.R. 29).

      Tornado Cash is composed of strings of open-source code that independent

developers have published to Ethereum. See Am. Compl. ¶¶ 1, 9–10. It operates

autonomously via “smart contract[s]” that are programmed to self-execute certain

actions when prompted by Ethereum users. See Pls.’ MSJ Mem. at 25. Each smart

contract is assigned a public address, similar to a user’s public key, with which any user

can interact. See id. at 4–6. The core Tornado Cash smart contracts are known as

“pools,” which are simply code protocols through which users can route digital asset

deposits and withdrawals.15 The pools are programmed to automatically generate, upon

a deposit, a randomized key through which the depositing user can later withdraw

funds.16    Further, the pools are non-custodial, which means that users can only

withdraw the specific funds that they submit and retain full control of their funds

between deposit and withdrawal.17 In other words, thanks to the unique power of




      15
         Alex Wade et al., How Does Tornado Cash Work?, Coin Center (Aug. 25, 2022),
https://bit.ly/3Z0Qnnf.
      16
           Id.
      17
           Id.


                                            8
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blockchain technology, no person other than the user to whom the assets belong has

control over those assets. Tornado Cash thus supplies a secure mechanism for users

to protect their anonymity by severing the public connection linking all their Ethereum

deposits and withdrawals.

      Another key feature of the Tornado Cash pools is that they have been

programmed to be autonomous and immutable. This means nobody owns them,

controls them, or has the ability to alter or terminate them. Although the pools

originally were programmed to allow a designated “operator” to update their coding, a

2020 update revoked this functionality for all active pools.18

      These features distinguish the Tornado Cash software—which is non-custodial

and fully autonomous—from privacy services owned or operated by persons or entities.19

These latter services (unlike autonomous software) facilitate privacy by taking control

of users’ funds to shuffle them with other users’ funds.20 And in contrast to Tornado

Cash, such users do not maintain custody of their funds.21




      18
           Id.
      19
          For an example of an owned-and-operated privacy service, see the Blender.io
currency mixer, which OFAC separately sanctioned earlier in 2022. U.S. Treasury Issues
First-Ever Sanctions on a Virtual Currency Mixer, Targets DPRK Cyber Threats, U.S. Dep’t of
the Treasury (May 6, 2022), https://bit.ly/3FHi9xd.
      20
           Wade et al., supra note 15.
      21
           Id.


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      The only non-autonomous features of Tornado Cash are entirely distinct from

the core privacy-protecting software.22 For instance, the DAO—or decentralized

autonomous organization—relied upon by OFAC conducts “non-essential activities to

support continued development” related to Tornado Cash.23 The DAO consists of

anyone who holds “TORN” governance tokens—in other words, anyone who wants

to be involved, for whatever duration they choose.24 It facilitates the creation of

secondary Tornado Cash-related features, such as a “Relayer Registry” that helps

Tornado Cash users find “relayers”—i.e., persons acting as conduits who can help

process users’ withdrawals from the Tornado Cash pools, so as to maximize users’

privacy.25 But the registry offers an entirely optional function; Tornado Cash users can

make full use of the pools through non-registered relayers or without any relayers at all.

See Pls.’ MSJ Mem. at 8. And contra OFAC, the DAO and its services are entirely

distinct from the pools themselves. That core Tornado Cash software exists and

functions regardless of the DAO.




      22
           See generally id. (explaining the various Tornado Cash-related addresses).
      23
          Peter Van Valkenburgh, Tornado Cash Is No “Golem.” It’s a Tool for Privacy and
Free Speech, Coin Center (Oct. 26, 2022), https://bit.ly/3KrYQLL; see also David
Shuttleworth, What Is a DAO and How Do They Work?, ConsenSys (Oct. 7, 2021),
https://bit.ly/3yYbpHB.
      24
           Wade et al., supra note 15.
      25
           Id.


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II.     OFAC’S SANCTIONING OF TORNADO CASH IS UNLAWFUL.

        OFAC’s sanctions threaten to upend all this. With no forewarning, OFAC

invoked its authority under Executive Orders 13,722 and 13,694, as amended, to

sanction Tornado Cash. 87 Fed. Reg. 68,578, 68,579–80 (Nov. 15, 2022). Those

Orders empower OFAC to sanction “persons” who have provided support to,

respectively, the North Korean government or certain malicious cyber activities. 80

Fed. Reg. 18,077 (Apr. 2, 2015), amended by 82 Fed. Reg. 1 (Jan. 3, 2017); 81 Fed. Reg.

14,943 (Mar. 18, 2016). OFAC claimed it could lawfully sanction the Tornado Cash

software protocol because the software had been used by money launderers affiliated

with the North Korean government.26 OFAC thus added the Tornado Cash smart

contracts (i.e., code) to a list of “individuals, groups, and entities” whose “assets are

blocked and [whom] U.S. persons are generally prohibited from dealing with.”27 This

is the first time OFAC has ever attempted to sanction computer software, rather than

focus on the bad actors that misuse it.28




         Treasury Designates DPRK Weapons Representatives, U.S. Dep’t of the Treasury
        26

(Nov. 8, 2022), https://bit.ly/3ElWEkS.
        Specially Designated Nationals and Blocked Persons List (SDN) Human Readable Lists,
        27

U.S. Dep’t of the Treasury, https://bit.ly/3Z4MJYR (last updated June 1, 2023).
         Alex Thorn et al., OFAC Sanctions Tornado Cash: Issues & Implications, Galaxy
        28

(Aug. 10, 2022), https://bit.ly/3IhYe8r.


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       OFAC’s sanctions forbid Americans from interacting with the various Ethereum

addresses that make up the Tornado Cash software, 87 Fed. Reg. at 68,578–79, under

threat of six-figure civil fines and, for willful violations, up to 20 years’ imprisonment,

50 U.S.C. § 1705(b)–(c). The sanctions have stranded countless Americans who were

holding funds in the Tornado Cash pools: these law-abiding citizens are no longer

permitted to access their assets unless they obtain a discretionary special license from

OFAC,29 which is available only on a “case-by-case basis” with no estimate as to “how

long this review might take.”30 And Americans may violate the sanctions through no

fault of their own: because blockchain technology allows peer-to-peer transfers from

one wallet directly to another without requiring the recipient to consent to the transfer,

Ethereum users can become liable—subject only to OFAC’s prosecutorial discretion—

whenever someone transfers them digital assets via Tornado Cash.31 In that situation,

the person is trapped through no fault of their own—they have no ability to reject the

funds and would commit an additional sanctions violation if they remitted the funds.




       29
         Frequently Asked Questions #1079, U.S.             Dep’t    of    the   Treasury,
https://bit.ly/3KdJpFd (last updated Nov. 8, 2022).
       30
         Frequently Asked Questions #58, U.S. Dep’t of the Treasury (Sept. 10, 2002),
https://bit.ly/3MjYtnp.
       31
         Frequently Asked Questions #1078, U.S. Dep’t of the Treasury,
https://bit.ly/3nMvjD2 (last updated Nov. 8, 2022); see, e.g., Mat Di Salvo, Tornado Cash
User ‘Dusts’ Hundreds of Public Wallets—Including Celebs Jimmy Fallon, Steve Aoki and Logan
Paul, Decrypt (Aug. 9, 2022), https://bit.ly/3Ij9m5d.


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      OFAC’s sanctions are unlawful. OFAC lacks statutory authority to sanction

software like Tornado Cash, and regardless, its decision lacks any factual predicate that

could render the sanctions lawful. This Court should vacate the sanctions.

      A.     OFAC’s Sanctions Exceed Its Authority.

      OFAC’s sanctioning authority is circumscribed by Executive Orders 13,722 and

13,694 and the statutes those orders invoke. The orders authorize OFAC to designate

“persons” for sanctioning pursuant to three statutes. The International Emergency

Economic Powers Act, which both orders invoke, empowers the Executive to deal with

national emergencies by blocking “transactions involving[] any property in which any

foreign country or a national thereof has any interest.” 50 U.S.C. § 1702(a)(1). The

North Korea-focused order invokes two further statutes, the United Nations

Participation Act and the North Korea Sanctions and Policy Enhancement Act, as

supplemental authority for blocking “person[s]” and “property.” 22 U.S.C. §§ 287c(a),

9214. But the autonomous Tornado Cash software is not “property”—much less the

“property” of the nonexistent Tornado Cash “person.” There is thus no statutory basis

for OFAC’s sanctions.




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       1. Foremost, the autonomous Tornado Cash software is not “property.” To be

property, an item must be a thing that is owned. Courts32 and dictionaries33 have both

recognized this capacity as a defining characteristic of property.          OFAC’s own

regulations confirm the point: all the examples of “property” it enumerates as

illustrative are items belonging to individuals or entities and any “other property” must

be construed to share this critical feature. 31 C.F.R. §§ 510.323, 578.314; see Prytania

Park Hotel, Ltd. v. Gen. Star Indem. Co., 179 F.3d 169, 179 (5th Cir. 1999) (applying the

ejusdem generis canon to an illustrative list).

       Here, the core Tornado Cash software is not and cannot be owned by anyone,

much less by the Tornado Cash “person” conjured by OFAC. With the 2020 update

making the code for the pools permanent and unalterable, no one can exercise any

“dominion” or other essential indicia of ownership over them.34 No one person or

group has the right to possess the software, or the ability to transfer the ownership to

any other person or group. The Tornado Cash software protocol is simply a feature

affixed to the Ethereum ecosystem, much as immutable features in the real-world



       32
         E.g., United States v. Blagojevich, 794 F.3d 729, 736 (7th Cir. 2015); Haze El Bey
Express Tr. v. Hill, No. 20-cv-3516, 2021 WL 3829162, at *3 (S.D. Tex. Apr. 22, 2021).
        E.g., Property, Oxford English Dictionary (2d ed. 1989); Property, Webster’s
       33

New World Dictionary of the American Language (college ed. 1968); Property, Webster’s
Third New International Dictionary (1961).
       34
         See Property, Black’s Law Dictionary (5th ed. 1979) (defining “property” as
including the rights to possess, use, exclude, and transfer).


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ecosystem—like sun or wind—can be harnessed but not owned. Absent any possibility

of ownership, the software cannot be considered property subject to sanctioning.

      The possibility that individuals associated with Tornado Cash—such as the

developers who originally programmed the pools—might once have had a cognizable

property interest in the pools does not bear on whether they have any such interest now.

“‘Abandonment’” is a core concept in property law, reflecting the undeniable reality

that owners sometimes will “give[] up all claims to the[ir] property, thus pitching it back

into the public domain, where it is available for reappropriation.” Cerajeski v. Zoeller,

735 F.3d 577, 581 (7th Cir. 2013). By making the Tornado Cash pools immutable with

the 2020 update, the Tornado Cash developers engaged in a paradigmatic

relinquishment of whatever ownership interest they may have had in the pools, and that

choice has decisive legal consequences here.

      Nor is it relevant that other software related to Tornado Cash might be susceptible

to ownership. For example, it is true that some features created by the DAO—such as

the Relayer Registry discussed above—are not immutable.35 But even granting that the

DAO has a property interest in the Relayer Registry, and that the Relayer Registry’s

functionality depends on the existence of the pools, it does not follow that the DAO

would then have a property interest in the pools themselves. Attributing such an interest

to the DAO would be like attributing a property interest in the Washington Monument


      35
           Wade et al., supra note 15.


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to the tour-guide companies that show visitors around our nation’s capital. Like those

companies, the DAO is at most an incidental beneficiary of the Tornado Cash pools,

and an incidental beneficiary does not possess any cognizable property rights. Cf.

Interface Kanner, LLC v. JPMorgan Chase Bank, N.A., 704 F.3d 927, 932–33 (11th Cir.

2013) (contrasting the rights of intended and incidental beneficiaries in contract law).

      2. Nor is Tornado Cash a “person” under any reasonable understanding of the

term. OFAC’s regulations define a legal person as “an individual or entity.” 31 C.F.R.

§§ 510.322, 578.313. Tornado Cash—software—is neither.

      OFAC’s assertion that it has sanctioned a Tornado Cash “entity” that

purportedly owns the autonomous software likewise does not withstand scrutiny—not

only because nobody “owns” the core software as detailed above, but also because it

has not identified a Tornado Cash “entity” regardless. OFAC has sanctioned a

supposed Tornado Cash “organization[]” composed of the software developers who

coded the smart contracts and the Tornado Cash DAO.36 In doing so, OFAC has

disclaimed any designation of the developers or DAO members in their individual

capacities.37 Thus, OFAC’s sanctions must rise or fall based on the interests the




      36
         Frequently Asked Questions #1095, U.S. Dep’t of the Treasury (Nov. 8, 2022),
https://bit.ly/3zSNV7n. OFAC defines the developers to include both the Tornado
Cash “founders” and others who have aided in the development of Tornado Cash. Id.
      37
           Id.


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developers and DAO have as a unified entity—not any property interests they may hold

individually. And OFAC has not established the existence of any such unified entity.

         An entity is “a partnership, association, trust, joint venture, corporation, group,

subgroup, or other organization.” Id. §§ 510.305, 578.305. In other words, it is a body

with a “separate and distinct existence,” an “organization … that has an identity

separate from those of its members.”38

         But the Tornado Cash developers and DAO do not in combination have the

requisite separate and distinct existence because, outside of OFAC’s own lumping, there

is no indication that these discrete actors share any sort of “organizational structure.”39

For example, there is no contemporaneous evidence proving the existence of such an

organization; pointing to any kind of contractual relationship between the developers

and DAO; or suggesting that the public perceived them as intertwined. An organization

cannot exist merely on OFAC’s say-so. Thus, even if identifying an entity associated

with Tornado Cash sufficed under the statute—which it does not—OFAC has not

done even that.

         B.      Any Statutory Doubt Must Be Resolved Against OFAC.

         OFAC clearly exceeded its authority for the reasons discussed above, but the



         38
              Entity, Merriam-Webster.com, https://bit.ly/3XLLxst (last visited June 1,
2023).
         39
              Frequently Asked Questions #1095, supra note 36.


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Plaintiffs need not prove that much to prevail. Under fundamental principles of

statutory interpretation, the Court should resolve any ambiguity against OFAC.

       1. To start, the major-questions doctrine establishes that OFAC’s powers here

should be narrowly construed. That doctrine requires an agency to identify a clear

congressional statement before it can “bring about an enormous and transformative

expansion in [its] regulatory authority.” Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 324

(2014). This case would effect such an expansion because OFAC’s sanctions depend

on re-interpreting the core terms in OFAC’s authorizing statutes—“persons” and

“property”—to go far beyond any traditional or recognizable definition of those terms

to give OFAC near-boundless authority. Although this arrogation most immediately

affects digital assets—alone a trillion-dollar industry40—OFAC’s claim of sweeping

authority is equally applicable to any or all other industries. Absent clear congressional

authorization, this power-grab must fail.

       2. OFAC’s powers likewise should be narrowly construed as a matter of

constitutional avoidance. Courts must interpret ambiguous statutory language in a way

that avoids “serious doubt[s]” about a statute’s constitutionality if it is “fairly possible”

to do so. Nielsen v. Preap, 139 S. Ct. 954, 971 (2019) (quotation marks omitted). And

the Tornado Cash sanctions raise at least two serious constitutional conflicts.



       40
           Marcel Pechman, Total Crypto Market Cap Rises Above $1T—Data Suggests More
Upside Is In Store, Cointelegraph (Jan. 27, 2023), https://bit.ly/3Z2iuBS.


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      First, the sanctions cannot withstand First Amendment scrutiny. Because they

indiscriminately target both bad actors and law-abiding Tornado Cash users, the

sanctions “burden substantially more” speech and association “than is necessary to

further the government’s … interests.” Ward v. Rock Against Racism, 491 U.S. 781, 799

(1989); cf. Green v. Miss USA, LLC, 52 F.4th 773, 800 n.25 (9th Cir. 2022). Here, the

government could have directly sanctioned the North Korea groups that misuse

Tornado Cash, just as it has sanctioned malign digital asset users on other occasions.41

Instead, it has attempted to categorically sanction a software those groups misuse. In

the process—and apparently, intentionally42—OFAC has cut ordinary Americans off

from a means of engaging in anonymous financial speech and associations. That

overbroad choice unconstitutionally chills First Amendment rights.

      Second, OFAC’s sanctions cannot be squared with the Due Process Clause of the

Fifth Amendment, which bars the deprivation of property without due process of law.

The amount of process required depends on a balancing of interests, but the

government generally must provide individuals “notice and an opportunity to be heard

before depriving them of their property.” Zevallos v. Obama, 793 F.3d 106, 116 (D.C.


      41
           Thorn et al., supra note 28.
      42
          See Scott Chipolina & James Politi, US Treasury Imposes Sanctions on ‘Crypto
Mixer’ Over Alleged Laundering, Fin. Times (Aug. 8, 2022), https://bit.ly/3XJqGG7
(quoting a “senior Treasury official” as saying that the sanctions were to “‘send a really
critical message’” against services like Tornado Cash and “‘designed to inhibit Tornado
Cash or any sort of reconstituted versions of it’”).


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Cir. 2015). Here, OFAC provided zero pre-deprivation notice before sanctioning

Tornado Cash and instead blocked all American Tornado Cash users from accessing

their funds.43

       There was no cause for that denial of notice. Although courts often uphold

sanctions imposed without pre-deprivation notice based on a fear of asset flight, see Al

Haramain Islamic Found., Inc. v. U.S. Dep’t of Treasury, 686 F.3d 965, 985 (9th Cir. 2012),

that rationale has no force here. Because the Tornado Cash pools are immutable and

the Tornado Cash software does not maintain custody or control over the assets held

in the pools, these assets cannot be frozen the way money in a bank can be. And

because the pools remain available for all to use, the targeted North Korean wrongdoers

are not actually blocked from retrieving their assets.44 Only law-abiding American users are

thwarted by their respect for the law.

       3. The rule of lenity further confirms that a narrower interpretation is necessary.

This rule ensures that “legislatures and not courts … define criminal activity,” United

States v. Bass, 404 U.S. 336, 348 (1971), by requiring that ambiguous provisions be

construed in favor of criminal defendants, Lockhart v. United States, 577 U.S. 347, 361

(2016). The rule applies to any “statute with criminal sanctions,” even in cases that arise


       43
            Frequently Asked Questions #1079, supra note 29.
       44
         See Tim Hakki, BitKeep Hacker Moves $1M in Binance Coin Through Tornado Cash,
Decrypt (Oct. 18, 2022), https://bit.ly/3xIALIF; Tornado Cash Mixer Sanctioned After
Laundering Over $1.5 Billion, Elliptic (Aug. 8, 2022), https://bit.ly/3FTdNDa.


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in a “noncriminal context,” Kasten v. Saint-Gobain Performance Plastics Corp., 563 U.S. 1, 16

(2011), because any statute must be “interpret[ed] … consistently” across cases, Leocal

v. Ashcroft, 543 U.S. 1, 11 n.8 (2004). Accordingly, because OFAC’s authorizing statutes

criminally proscribe the “willful[]” violation of sanctions, see 22 U.S.C. §§ 287c(b),

9214(f); 50 U.S.C. § 1705(c), any ambiguity about the scope of what is sanctionable

must be narrowly construed.

       C.       OFAC’s Sanctions Are Arbitrary and Ill-Conceived.

       Finally, OFAC’s sanctions are “not in accordance with law” for yet another

reason: the sanctions are arbitrary and capricious. 5 U.S.C. § 706(2)(A). This is so for

at least two reasons.

       1. The sanctions “lack[] a limiting principle.” United States v. Reynolds, 710 F.3d

498, 510 (3d Cir. 2013); cf. Stewart v. Azar, 366 F. Supp. 3d 125, 154 (D.D.C. 2019).

OFAC assertedly designated Tornado Cash because it has been “used by” North

Korean actors for nefarious purposes.45 But on this view, anything that a malign foreign

actor happens to misappropriate risks being sanctioned. After all, any tool can be

misappropriated—even if its primary uses are entirely innocuous, as here. OFAC’s

logic thus has no discernible endpoint.

       OFAC’s theory would suggest, for example, that a social-media website could be

sanctioned merely because foreign trolls have used it to facilitate unlawful activities. By


       45
            Treasury Designates DPRK Weapons Representatives, supra note 26.


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the logic of the Tornado Cash sanctions, OFAC could find that such a website—which

would be foreign insofar as it is partially owned by foreign shareholders—has

“materially assisted” in “[a]ctions … that undermine democratic processes or

institutions in Ukraine,” or in some other trigger for sanctions, because trolls have

misused the site for that purpose. 31 C.F.R. § 589.201(a)(1)(i), (iv). OFAC’s logic

likewise suggests that it could sanction an open-source encryption protocol—website

coding that allows Americans to securely use their credit cards or other personal

information online—merely because the protocol was developed by a foreigner and

misused by a malign actor, no matter the proportion of uses that are entirely benign.

Such possibilities are absurd, and a justification that “would create patently absurd

results” is necessarily arbitrary and capricious. Schneider v. Wis. UFCW Unions & Emps.

Health Plan, 985 F. Supp. 848, 851 (E.D. Wis. 1997).

      2. Further, OFAC has violated a “central principle of administrative law” by

departing from longstanding practice without explanation.         Am. Wild Horse Pres.

Campaign v. Perdue, 873 F.3d 914, 923 (D.C. Cir. 2017). Indeed, OFAC has not even

shown “awareness that it is changing position.” FCC v. Fox Television Stations, Inc., 556

U.S. 502, 515 (2009). Specifically, OFAC’s long-held position—repeated even in the

announcement of the Tornado Cash sanctions—is that “[t]he ultimate goal of sanctions

is … to bring about a positive change in behavior.”46 But any hypothetical Tornado


      46
           Id.


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Cash entity cannot “bring about a positive change in behavior” vis-à-vis the Tornado

Cash software, because—again—that software and the pools it autonomously operates

are immutable and not controlled by any hypothetical entity.47 There is simply no

mechanism for any Tornado Cash developer or DAO member to change or shutter it.

To the extent OFAC ignored this reality, it acted arbitrarily by failing to provide a

“reasoned explanation” for its newly expanded view of how sanctions should be

employed. Id. And to the extent OFAC was unaware of this reality, it arbitrarily “failed

to consider an important aspect of the problem.” Motor Vehicle Mfrs. Ass’n of U.S., Inc.

v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). Either way, its sanctions fail for

that reason too.

                                    CONCLUSION

       OFAC’s sanctions cannot be squared with a proper understanding of the

autonomous Tornado Cash software, OFAC’s governing statutes, or OFAC’s

obligations under the APA. If allowed to stand, this overreach will have sweeping

consequences—weakening the digital asset industry, jeopardizing law-abiding

Americans’ financial privacy, and effecting a vast expansion of OFAC’s power. This

Court should thus declare the sanctions unlawful and enjoin their enforcement.




       Brad Bourque, OFAC’s Tornado Sanctions and the Problem of Immutability,
       47

Fordham J. Corp. & Fin. L. (Oct. 30, 2022), https://bit.ly/3yViJns.


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                       CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(F), I hereby certify the foregoing brief contains 5,343

words, excluding the items listed in Local Rule 7.1(F).

                                        /s/ Brian C. Lea
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                            CERTIFICATE OF SERVICE

      I hereby certify that on June 2, 2023, the foregoing document was filed through

the Court’s ECF system and a copy will be served on all parties according to the Federal

Rules of Civil Procedure.

                                        /s/ Brian C. Lea
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